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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

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IN RE: OIL SPILL by the OIL RIG * MDL NO. 2179 “7(1)
“DEEPWATER HORIZON” in * .
the GULF OF MEXICO, on * JUDGE BARBIER
APRIL 20, 2010 *
* MAGISTRATE SHUSHAN
*
THIS DOCUMENT APPLIES TO: * JURY TRIAL DEMANDED
Case No. 12-311 *
*
ORDER

Considering the foregoing Motion for Leave to File Reply Exceeding Page Limit;

IT IS ORDERED that Defendant Liberty Insurance Underwriters, Inc. be and is
hereby granted leave to file its Reply in Support of Motion for Judgment on the Pleadings
Pursuant to F.R.C.P. 12(c), which exceeds the page limits specified in Local Rule 7.7.

New Orleans, Louisiana, this day of June, 2012.

JUDGE

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